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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

ARTHUR BAKER,                             )
                                          )                   Case No: 2:20-cv-00376
                  Plaintiff,              )
      v.                                  )                   MEMORANDUM IN SUPPORT
                                          )                   DEFENDANTS’ MOTION FOR
CLEARWATER COUNTY, CITY OF                )                   SUMMARY JUDGMENT
OROFINO, AMANDA BARLOW, MATT              )
RUSSELL, and CHRIS GOETZ,                 )
                                          )
                  Defendants.             )
__________________________________________)

       Arthur Baker (“Plaintiff”) was arrested by Detective Amanda Barlow (“Barlow”) of the

Clearwater County Sheriff’s Office (“CCSO”). The charges were eventually dismissed, and

Plaintiff subsequently filed this lawsuit alleging that his civil rights were violated by Barlow, the

County, the County Sheriff (“Goetz”), an assisting City of Orofino police officer and the City.

As discussed below, summary judgment should be granted on all of Plaintiff’s claims.

                                       I. BACKGROUND

       On July 30, 2018 the CCSO received a call from Christine Nelson (”Nelson”), who

reported that Plaintiff, her neighbor, was preventing her from leaving her property. (Declaration

of Counsel, Ex. C at 30:22-31:31:8). Barlow responded to the call. (Id., at 31:1-31:8).

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       Barlow knew both Plaintiff and Nelson prior to July 30, 2018. She knew Plaintiff

because she had previously questioned him about a suspected theft of a game camera reported by

another of Plaintiff’s neighbors, and regarding a complaint by Nelson concerning the well that

she and Plaintiff shared.      (Id., at 23:18-24:15, 24:19-25:14).   Barlow found both of those

complaints to be unfounded. (Id., at 23:18-24:15, 24:19-25:14). Barlow knew Nelson because

the two of them had been acquainted for 8-10 years and periodically rode horses together. (Id.,

at 18:16-18:22, 20:6-20:21).

       Barlow was also familiar with the layout of Plaintiff’s and Nelson’s properties. In

particular, she knew that when she had accessed Nelson’s property in the past, she had done so

via Legacy Drive, off of Harmony Heights Road. (Id., at 33:13-33:23). She was also aware that

Nelson typically used this road to access and exit her property, and that Plaintiff’s home is

located a short way down Legacy Drive from this intersection. (Id., at 31:9-32:14). Barlow also

knew that an unmaintained “4-wheeler” road leaves Harmony Heights further up past the

intersection. (Id., at 32:15-32:18, 34:17-35:11, 43:18-44:4). This road (hereafter the “cutoff”

road) ends on Legacy Drive about 100 yards away from the intersection. (Id., at 46:5-46:24).

       Barlow was also aware that there was an ongoing dispute between Plaintiff and Nelson.

(Id., at 22:6-23:1). Nelson had complained to law enforcement in June of 2018 that Plaintiff had

tried to poison a well that the two of them shared; Barlow investigated that complaint, and as

noted above, concluded that it was unfounded. (Id., at 24:19-25:14). Plaintiff had also reported

that Nelson had cut a wire gate Plaintiff had placed across the “cutoff” road, and Barlow was

aware that this complaint had been investigated by another CCSO deputy. (Id., at 25:19-26:4).


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       When Barlow arrived on scene, she could see that a green truck, which she knew to be

Plaintiff’s, was parked in front of a closed gate, and was blocking any vehicles from entering or

exiting Legacy Drive onto Harmony Heights Drive (the “Legacy Drive gate”). (Id., at 37:21-

38:4; Ex. A at 1.271-1.275). Barlow could also see that a white pickup, which she knew to be

Nelson’s, was parked on the other side of the gate, with another vehicle (which she later

determined belonged to Diane Baker, Plaintiff’s wife), parked directly behind Nelson’s pickup.

(Declaration of Counsel, Ex. C at 38:7-38:16, 51:24-52:9; Ex. A at 1.279, 1.282).

       Barlow questioned both Plaintiff and Nelson. 1 Plaintiff asserted that Nelson no longer

had permission to access her property through the “Legacy Drive gate.”              (Declaration of

Counsel, Ex. C at 39:2-39:6). Instead, according to Plaintiff, Nelson only had an easement

granting her a right to access the public roadway (i.e. Harmony Heights Drive) via the “cutoff”

road. (Id., at 42:5-42:17). Nelson, on the other hand, asserted that she believed that she had a

right to access or exit her property as she always had, and that Plaintiff and Plaintiff’s wife were

preventing her from doing so. (Id., at 50:5-50:12). Based on those conversations, Barlow

determined that the issue was a civil matter. (Id., at 38:18-38:24).

       While Barlow was speaking with Nelson, Barlow could see that Plaintiff had locked the

gate. (Id., at 101:24-102:6). Because of where Plaintiff’s vehicle and Diane Baker’s vehicles

were positioned, Barlow was concerned that Nelson could not actually exit through either the

gate or the cutoff road. (Id., at 66:3-66:7). Barlow asked Diane Baker to move her vehicle, and




1
  Barlow was not wearing a bodycam, but was wearing an audio recording device, which she
used to record this encounter. (Dec. of Counsel, Ex. C at 25:1-25:12, 29:25-30:10; Exs. E & F).
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she agreed to do so, stating that she was only there because her husband had told her to be. (Id.,

at 66:7-66:17).

       Based on her familiarity with the “cutoff” road, Barlow was not sure that Nelson would

be able to safely exit that way even if Diane Baker moved her vehicle. (Id., at 60:2-60:10).

Barlow told Plaintiff that he needed to let Nelson go, and directed him to open the gate and move

his truck and let Nelson leave. (Id., at 72:12-72:15, 88:15-89:2). Plaintiff refused. Barlow then

gave Plaintiff a choice: open the gate and move his truck, or be arrested for false imprisonment

and for impeding or obstructing an officer. (Id., at 73:13-73:17). Plaintiff again refused.

Barlow then announced that Plaintiff was going to jail, and was being placed under arrest. (Id.,

at 74:12-74:14).

       As she did so, she saw Plaintiff attempt to reach into his pocket. (Id., at 74:9-74:12).

Fearing that Plaintiff might be reaching for a weapon, Barlow told him to give her his hand,

grabbed his wrist, placed Plaintiff in an arm bar, and pressed him up against the nearest vehicle

(Plaintiff’s truck) so she could get handcuffs on him. (Id., at 74:12-75:4, 78:1-78:11, 96:3-

96:15). Plaintiff continued to resist Barlow’s attempts to place him in handcuffs by trying to

slide up the side of the truck away from Barlow, and by refusing to put his hand behind his back

so Barlow could get a handcuff on it. (Id., at 78:1-78:11, 79:12-79:14). Barlow also mentioned

that she would have to tase Plaintiff if he didn’t stop resisting, but she was eventually able to get

handcuffs on without needing to use a taser. (Id., at 78:1-78:11).

       Plaintiff complained that the handcuffs were too tight. (Id., at 92:7-92:12). Barlow

loosened them, but did not do so immediately. This was because Barlow was the only officer

present, and “and when you put the key in to loosen it and you have no help and he was already
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resisting me and not listening or doing what I was asking him to do, he could have pulled out of

the handcuff and hurt me with it.” (Id., at 95:5-95:11). Once Plaintiff had calmed down, Barlow

had called the matter into dispatch, and backup was on the way, Barlow unlocked and loosened

Plaintiff’s handcuffs. (Declaration of Counsel, Ex. C at 104:15-105:3; Ex. E, at minute 23:40-

24:35).     Approximately 8 minutes elapsed between when Plaintiff complained about the

handcuffs and when Barlow loosened them. (Declaration of Counsel, Ex. C at 104:15-105:10;

Ex. E, at minute 16:00-24:35).

          City of Orofino Police Officer Matt Russell arrived on scene soon thereafter to assist and

transport Plaintiff to jail for booking. (Declaration of Counsel, Ex. C at 105:4-105:10; Ex. E, at

minute 26:25-26:35). Russell was wearing a bodycam, and his encounter with Plaintiff was

recorded.     (Declaration of Counsel, Ex. G).        Russell placed Plaintiff in a different set of

handcuffs, and helped Plaintiff into his patrol vehicle, which is an extended cab pickup.

(Declaration of Counsel, Ex. C at 105:6-105:7, 105:13-105:19; Ex. G). Plaintiff asserts that

Russell pushed down on his head as he was getting into the vehicle, but that assertion is

contradicted by the bodycam video.

          The CCSO does not prohibit deputies from responding to calls for service involving

friends or family members. (Declaration of Counsel, Ex. D at 17:5-17:21). Deputies with

potential conflicts are not supposed to investigate such calls, but may do so as long as they have

a second deputy or supervisor do a follow up and review the incident. (Declaration of Counsel,

Ex. D at 19:5-19:7). This procedure was followed here: Mitch Jared, Barlow’s supervisor,

responded to assist Barlow on July 30, 2018, and verified the factual basis of Plaintiff’s arrest

and the citations issued to him. (Declaration of Counsel, Ex. A at 1.005; Ex. D at 20:15-20:25).

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       Plaintiff was issued citations for false imprisonment and resisting or obstructing an

officer. (Declaration of Counsel, Ex. A at 1.102). A judge thereafter found probable cause to

support the arrest and citations. (Id., at 1.166). Both charges were eventually dismissed on

motion of the prosecuting attorney. (Id., at 1.170, 1.103).

       On January 23, 2019 Plaintiff presented a notice of tort claim to the Clearwater County

Sheriff’s Department and to the office of the Clearwater County Commissioners. (Declaration of

Counsel, Ex. B at Baker 0172-0175). On July 28, 2020 Plaintiff filed this lawsuit. (Dkt. 1).

                                        II. ARGUMENT

                  A. No triable claims under federal law can be shown here.

       “To state a claim under 42 U.S.C. § 1983, a plaintiff must allege a violation of rights

protected by the Constitution or created by federal statute proximately caused by conduct of a

person acting under color of state law.” Larson v. Payne, No. 2:18-cv-00375-CWD, 2019 WL

826448, *4 (D. Idaho February 21, 2019). Defendants admit that they were acting under color of

state law regarding this incident. However, Plaintiff cannot demonstrate that his rights under

federal law—clearly established or otherwise—were violated.

1.     Plaintiff’s arrest was supported by probable cause.

       Plaintiff asserts that Detective Barlow and Officer Russell violated Plaintiff’s Fourth

Amendment rights when they detained, arrested and cited him for false imprisonment and

resisting or obstructing an officer. “A claim for unlawful arrest is cognizable under § 1983 as a

violation of the Fourth Amendment, provided the arrest was without probable cause or other

justification.” Dubner v. City & Cnty. of S.F., 266 F.3d 959, 964 (9th Cir. 2001). “In other




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words, probable cause is a defense to claims of unlawful arrests.” Law v. City of Post Falls, 772

F. Supp. 2d 1283, 1291 (D. Idaho 2011).

       “Probable cause exists when there is a fair probability or substantial chance of criminal

activity.” United States v. Patayan Soriano, 361 F.3d 494, 505 (9th Cir. 2004) (quoting United

States v. Bishop, 264 F.3d 919, 924 (9th Cir. 2001)) (internal quotation marks omitted). “It is

well-settled that ‘the determination of probable cause is based upon the totality of the

circumstances known to the officers . . .’” Id. (quoting Bishop, 264 F.3d at 924). Further, courts

“do not evaluate probable cause in hindsight,” Florida v. Harris, 133 S. Ct. 1050, 1059 (2013),

and “[t]he determination of probable cause should not be confused with the higher standard

required for a conviction.” Dunham v. Kootenai County, 690 F. Supp. 2d 1162, 1176 (D. Idaho

2010) (citation omitted); see also Freeman v. City of Santa Ana, 68 F.3d 1180, 1189 (9th Cir.

1995) (“The mere fact a prosecution was unsuccessful does not mean it was not supported by

probable cause.”).

       At the outset, it must be noted that at least one court already has determined that there

was probable cause to support Plaintiff’s arrest and the citations issued to him. 2 (Declaration of

Counsel, Ex. A at 1.166). Those charges were eventually dismissed, but not due to a judicial

finding or determination that probable cause was lacking; instead, those charges were dismissed

on motion of the prosecuting attorney. (Id., 1.170, 1.103).

       More significantly though, the judge’s probable cause finding was supported by the facts

Detective Barlow confronted, which were easily “sufficient to warrant a prudent [person] in



2
  A probable cause finding also presents an “absolute defense” to a malicious prosecution claim.
Law v. City of Post Falls, 772 F. Supp. 2d 1283, 1291 (D. Idaho 2011); see also Awabdy v. City
of Adelanto, 368 F.3d 1062, 1066 (9th Cir. 2004).
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believing that” Plaintiff had violated both I.C. § 18-2901 and I.C. § 18-705. Blankenhorn v. City

of Orange, 485 F. 3d 463, 471 (9th Cir. 2007).

       A violation of I.C. § 18-2901 occurs whenever a suspect “violate[s] the right of [name of

victim] to come and go or to stay when or where [name of victim] wanted.” ICJI 1233 (second

and third brackets in original); State v. Joy, 304 P.3d 276, 283 (Idaho 2013) (“False

imprisonment requires only an (1) unlawful (2) violation of another’s personal liberty.”).

       Barlow clearly confronted facts that demonstrated these elements. When Barlow arrived

at the Harmony Heights/Legacy Drive intersection, she could see a green truck, which she knew

to be Plaintiff’s, parked in front of the closed Legacy Drive gate. (Declaration of Counsel, Ex. C

at 37:21-38:4; 1.271-1.275). Barlow could also see that a white pickup, which she knew to be

Nelson’s, was parked on the other side of the gate, with another vehicle (which she later learned

belonged to Plaintiff’s wife), parked directly behind Nelson’s pickup. (Id., at 38:7-38:16, 51:24-

52:9; Ex. A at 1.279, 1.282). Plaintiff asserts that Nelson should have used the “cutoff” road, but

when Barlow arrived (and indeed for the most of the encounter that followed), 3 Nelson could not

actually do so because Plaintiff and his wife’s vehicles had blocked her in on both sides. A

reasonable person confronting this scenario could easily conclude that Plaintiff and his wife were

deliberately preventing Nelson from coming or going as she pleased, whether through the

Legacy Drive gate or up the “cutoff” road. Nothing more is required to demonstrate a violation

of I.C. § 18-2901.

       Although the court need not go any further to find probable cause, Detective Barlow also

had a probable cause to arrest Plaintiff for resisting or obstructing Barlow in the exercise of her

3
  Diane Baker eventually agreed to move her vehicle, (Dec. of Counsel, Ex. C at 66:7-66:17),
but before she did so, a violation of I.C. § 18-2901 had been observed. No case holds that I.C. §
18-2901 is not violated merely because the imprisonment ends at the request of law enforcement.
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duties, in violation of I.C. § 18-705. See State v. Bishop, 203 P.3d 1203, 1215 (Idaho 2009)

(“Three elements must be satisfied in order to find a violation of [§ 18-705]: ‘(1) the person who

was resisted, delayed or obstructed was a law enforcement officer; (2) the defendant knew that

the person was an officer; and (3) the defendant also knew at the time of the resistance that the

officer was attempting to perform some official act or duty.’”).

       Neither of the first two elements can be disputed: Barlow was (and is) a law enforcement

officer, and Plaintiff knew it. As for the third, it cannot be disputed that Barlow was attempting

to discharge her duties, or that Plaintiff was (at minimum) uncooperative. Again, when Barlow

arrived on scene, she walked into the middle of a tense standoff, and with Nelson plainly unable

to leave as a result of Plaintiff’s (and his wife’s) actions. (Declaration of Counsel, Ex. C at 37:2-

38:19; Ex. A at 1.271-1.275, 1.279, 1.282). Barlow spoke with both Plaintiff and with Nelson,

and determined—correctly—that the issue was a civil matter involving disputed property.

(Declaration of Counsel, Ex. C at 38:18-38:24).

       Barlow was also aware, based both on her conversations with Nelson and her own prior

visits to Nelson’s and Plaintiff’s properties, that the “cutoff” road Plaintiff wanted Nelson to use

was an unmaintained “4-wheeler” road which Nelson’s two wheel drive pickup might not be able

to safely traverse. (Id. at 60:2-60:10). Rather than prolong the standoff, Barlow told Plaintiff

that he could not hold Nelson any further, and directed him to open the gate, move his truck and

let Nelson out. (Id., at 72:12-72:15, 88:15-89:2). Plaintiff refused. (Id., at 68:11-68:16).

Barlow gave Plaintiff a final chance to either open the gate and move his truck, or be arrested for

the false imprisonment she had observed, and for impeding Barlow’s attempts to resolve the

situation. (Id., at 73:13-73:17). Plaintiff again refused. At that point, Barlow announced that

Plaintiff was being placed under arrest and was going to jail. (Id., at 74:12-74:14).
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       A prudent person confronting these facts could certainly conclude that Plaintiff’s

actions—which prolonged Nelson’s detention and interfered with Barlow’s attempts to safely

resolve or investigate the incident—were intended to obstruct Deputy Barlow’s performance of

her official duties in violation of I.C. § 18-705. Blankenhorn, 485 F. 3d at 471. Probable cause

can be found on this basis as well.

       Moreover, even if the court were persuaded that probable cause was lacking here for any

reason, Barlow and Russell would be entitled to qualified immunity. Lal v. California, 746 F.3d

1112, 1116 (9th Cir. 2014); see also Hunter v. Bryant, 502 U.S. 224, 227 (1991) (“Even law

enforcement officials who ‘reasonably but mistakenly conclude that probable cause is present’

are entitled to immunity.”) (citation omitted). For these purposes, “‘[c]learly established’ means

that existing law ‘placed the constitutionality of the officer’s conduct beyond debate.’” West v.

City of Caldwell, 931 F.3d 978, 983 (9th Cir. 2019) (quoting District of Columbia v. Wesby, 138

S. Ct. 577, 589 (2018)); see also Sorrels v. McKee, 290 F.3d 965, 969 (9th Cir. 2002) (party

opposing immunity “bears the burden of showing that the right at issue was clearly established”).

       In the absence of any then-existing case holding that I.C. § 18-705 and I.C. § 18-2901

cannot be violated in circumstances similar to these—none exist a far as Defendants are aware—

Barlow could not possibly have received “fair warning” that Plaintiff’s arrest would violate the

Fourth Amendment. Jessop v. City of Fresno, 936 F.3d 937, 940 (9th Cir. 2019); see also

Michigan v. DeFillippo, 443 U.S. 31, 37 (1979). If Barlow was mistaken, her mistake was

reasonable in these circumstances, see Hunter, 502 U.S. at 227, and she is entitled to qualified

immunity against Plaintiff’s false arrest claims.

       Russell, who merely relied on Barlow’s stated reasons for Plaintiff’s arrest and

transported Plaintiff to jail, cannot be found liable for false arrest either. “[W]here an officer has
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an objectively reasonable, good-faith belief that he is acting pursuant to proper authority, he

cannot be held liable if the information supplied by other officers turns out to be erroneous.”

Torres v. City of L.A., 548 F.3d 1197, 1212 (9th Cir. 2008). Russell’s reliance on Barlow

probable cause determination was reasonable because when Russell arrived, objectively

verifiable corroborating evidence (i.e. that Plaintiff’s vehicle was still blocking the gate and

Nelson’s vehicle) supported that determination.

2.     No excessive force can be demonstrated here.

       Plaintiff alleges that excessive force was used in essentially three ways: (i) Barlow

improperly used an arm bar on him; (ii) Barlow and/or Russell deliberately placed him in

handcuffs that were too tight; and (iii) Russell pushed down on his head as he was being loaded

into Russell’s vehicle for transport.     None of those allegations are sufficient to establish

excessive force.

       Under the Fourth Amendment, police may use only such force as is objectively

reasonable under the circumstances. Graham v. Connor, 490 U.S. 386, 397 (1989); White v.

Pierce County, 797 F.2d 812, 815 (9th Cir. 1986). Determining whether force used in making an

arrest is excessive or reasonable “requires careful attention to the facts and circumstances of each

particular case, including the severity of the crime at issue, whether the suspect poses an

immediate threat to the safety of the officers or others, and whether he is actively resisting arrest

or attempting to evade arrest by flight.” Graham, 490 U.S. at 396; Kisela v. Hughes, 138 S.Ct.

1148, 1152 (2018) (per curiam) (“Use of excessive force is an area of the law in which the result

depends very much on the facts of each case, and thus police officers are entitled to qualified

immunity unless existing precedent squarely governs the specific facts at issue . . .”). The force



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used here was appropriate because Plaintiff was not compliant, and it was reasonably necessary

to get Plaintiff handcuffed and under control until backup could arrive.

       As for the arm bar, this occurred after Plaintiff tried to reach into his pocket, a fact he

nowhere disputes. Barlow believed that Plaintiff could have been trying to retrieve a weapon of

one sort or another, (Declaration of Counsel, Ex. C at 74:12-75:4, 78:1-78:11, 96:3-96:15), and

made a “split-second judgment[] . . . about the amount of force that [was] necessary” to ensure

her own safety. Plumhoff v. Rickard, 572 U.S. 765, 775 (2014). Plaintiff claims that he was

merely trying to get out his phone so he could video Barlow’s actions or retrieve his keys, but

Barlow had no way to know that at the time, and this court should not substitute hindsight for an

officer’s heat of the moment assessment of the force needed to get Plaintiff under control and

into handcuffs. This is particularly true considering that there are numerous cases holding that

arm bars and even forceful “takedowns” may be appropriate when an officer is unsure whether a

suspect is armed or poses a threat. See Rosenberger v. Kootenai Sheriff's Dept., 103 P.3d 466,

473 (Idaho 2004) (use of an arm bar appropriate because, among other things, the officers “did

not know the full extent of the threat Rosenberger posed”); see also City of Escondido, Cal. v.

Emmons, 139 S. Ct. 500, 502 (2019) (per curiam)

       Even still, Plaintiff continued to resist Barlow’s attempts to place him in handcuffs, and

did so by trying to slide up the side of the vehicle he was pressed against away from Barlow, and

by refusing to put his hand behind his back so Barlow could get a handcuff on it. (Declaration of

Counsel, Ex. C at 78:1-78:11, 79:12-79:14).

       Barlow was eventually able to get Plaintiff in handcuffs, but Plaintiff soon complained

that the handcuffs were too tight. Under existing case law an officer may not “place and keep [a

person] in handcuffs that were so tight that they caused . . . unnecessary pain,” Meredith v.
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Erath, 342 F.3d 1057, 1061, 1063–64 (9th Cir. 2003) (emphasis added). However, that is not

what occurred here because Barlow loosed the handcuffs mere minutes after Plaintiff complained

they were too tight. (Declaration of Counsel, Ex. C at 104:15-105:10). She did not do so

immediately, but the delay is easily explained: Barlow, who was the only officer on scene at that

point, believed that it would not be safe to unlock the cuffs to loosen them until she knew that

backup was on the way and Plaintiff had calmed down. (Id., at 95:5-95:11, 104:15-105:3).

Again, this court should not second guess actions that an officer, in the heat of the moment,

reasonably believed were necessary to ensure her own safety. Plumhoff, 572 U.S. at 775.

       Finally, Plaintiff asserts that Russell used excessive force either when he placed Plaintiff

in handcuffs that were too tight, or when he loaded Plaintiff into the patrol vehicle. The

handcuffing assertion is meritless. As demonstrated by the bodycam video, after Russell placed

the handcuffs on, Plaintiff complained that they were too tight. Russell then checked them,

confirmed that he could get his fingers between the cuffs and Plaintiff’s wrists, and determined

that if he loosened them any further Plaintiff might be able to work a hand free. Again, no case

that Defendants are aware of establishes that an officer must loosen handcuffs to the point of

uselessness merely because they may be uncomfortable. If excessive force was used here,

Officer Russell is clearly entitled to qualified immunity. See Kisela, 138 S.Ct. at 1152

       As for the other allegation, i.e. that Russell pushed down on Plaintiff’s head, this

assertion is flatly contradicted by the bodycam video. (Declaration of Counsel, Ex. G). And

even if this action occurred (and was for some reason not captured by the bodycam), it is difficult

to imagine how this could possibly support an excessive force claim. Plaintiff is not alleging his

head was slammed down against the patrol vehicle—only that Russell pushed down on it.

Plaintiff evidently believes that because he suffers from various back and neck issues, this
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touching was necessarily intended to injure or cause him pain. Whether true or not though,

Russell had no way to know this, and no reasonable jury would find that an officer who (at most)

briefly touched the head of a suspect while helping the suspect into a patrol vehicle used

unreasonable, excessive force. No violation Fourth Amendment violation can be shown here,

and even if one could be shown, Russell would be entitled to qualified immunity because his

actions violated no case that “squarely governs” these circumstances. Kisela, 138 S.Ct. at 1152.

3.     No viable Monell claim exists here.

       Though a finding of vicarious liability is not available under § 1983, federal courts have

long recognized that municipal liability can be established under that statute under the criteria

laid out in Monell v. Dep't of Social Services of City of New York, 436 U.S. 658, 691-94 (1978).

Under Monell a plaintiff “must show that (1) she was deprived of a constitutional right; (2) the

County had a policy; (3) the policy amounted to a deliberate indifference to her constitutional

right; and (4) the policy was the moving force behind the constitutional violation.” Mabe v. San

Bernardino County, Dept. of Soc. Serv., 237 F. 3d 1101, 1109-1111 (9th Cir. 2001) (internal

quotation marks omitted). Monell liability cannot be established here for several reasons.

       First, no constitutional violation occurred.     As demonstrated, Plaintiff’s arrest was

supported by probable cause and no excessive force was used. A Monell claim fails to clear even

the first hurdle. Second, Plaintiff for the most part appears to suggest that the root cause of this

incident was CCSO’s conflicts policy or, more precisely, CCSO policies that allow law

enforcement personnel to respond to incidents where close friends or family are involved. The

CCSO does not prohibit deputies from responding to calls for service involving friends or family

members. (Declaration of Counsel, Ex. D at 17:5-17:21). Deputies with potential conflicts are

not generally supposed to investigate such calls, but may do so as long as they have a second
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deputy or supervisor do a follow up and review the responding officer’s findings. (Declaration

of Counsel, Ex. D at 19:5-19:7). This procedure was followed here; Mitch Jared, Detective

Barlow’s supervisor, responded to assist Detective Barlow on July 30, 2018, and verified the

factual basis of Plaintiff’s arrest and the citation issued to him. (Declaration of Counsel, Ex. A at

1.005; Ex. D at 20:15-20:25).

       This policy does not in any way amount to deliberate indifference to Plaintiff’s—or

indeed any other member of the public’s—constitutional rights. A municipality cannot be

deliberately indifferent to problem it was not aware existed, and there is no evidence of any

complaints or allegations (other than those made by Plaintiff) that CCSO personnel were

improperly investigating or responding to incidents involving close personal acquaintances in

reliance on this policy. Moreover, this policy was not arbitrarily set, and instead reflects the

practical constraints that any county with a small, dispersed population must operate under. The

CCSO does not prohibit deputies from responding to calls where a conflict might arise, largely

because a policy along those lines would often prevent the closest available officer from

responding when a call for service comes in. (Declaration of Counsel, Ex. D at 17:5-17:21).

Plaintiff disagrees with the County’s allocation of its limited officer resources, but disagreement

over policy does not demonstrate deliberate indifference.

       Liability can also be established under Monell where “[a] municipality’s failure to train

an employee who has caused a constitutional violation . . . amounts to deliberate indifference to

the rights of persons with whom the employee comes into contact.” Long v. County of Los

Angeles, 442 F. 3d 1178, 1186 (9th Cir. 2006). Again the facts simply do not support such a

finding. Barlow has never been suspended or disciplined for a similar incident during her two

decade long career with the CCSO. (Declaration of Counsel, Ex. D at 16:15-16:17; Ex. A at
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3.084-85). Nor is there evidence of any false arrest or excessive force complaints against her in

the past, or any evidence that she had ever been accused of providing preferential treatment to

friends or family. 4   Likewise, there is no evidence that Officer Russell has any relevant

disciplinary actions or complaints against him in his service history. If either violated Plaintiff’s

constitutional rights—and again, neither did—there was no reason for their employers to suspect

prior to July 30, 2018 that this was a likely outcome, or that additional training was needed. No

rational trier of fact would find deliberate indifference based on this record.

                           B. ITCA bars Plaintiff’s state law claims.

1.     Plaintiff has not complied with I.C. § 6-906.

       It is undisputed that Plaintiff filed a notice of tort claim on January 23, 2019.

(Declaration of Counsel, Ex. B). There are, however, several problems with this notice.

       Under the plain terms of I.C. § 6-906 “[a]ll claims against a political subdivision . . . and

all claims against an employee of a political subdivision for any act or omission of the employee

with in the course or scope of his employment shall be presented to and filed with the clerk or

secretary of the political subdivision within one hundred eighty (180) days from the date the

claim arose or reasonably should have been discovered, whichever is later.” “Compliance with

[ITCA]’s notice requirement is a mandatory condition precedent to bringing suit, the failure of

which is fatal to a claim, no matter how legitimate.” Cobbley v. City of Challis, 59 P.3d 959, 962

(Idaho 2002); see also Ware v. City of Kendrick, 487 P.3d 730, 736 (Idaho 2021) (parties seeking




4
   Indeed, there is evidence here demonstrating that Barlow’s relationship with Nelson did not
render her incapable of fairly or impartially investigating Plaintiff. Barlow, after all, had
responded to a complaint by Nelson against Plaintiff previously and found no wrongdoing by
Plaintiff. (Declaration of Counsel, Ex. C at 23:18-24:15, 24:19-25:14).
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to rely on ITCA’s “limited waiver by the State of its sovereign immunity” must strictly comply

with I.C. § 6-906).

       Under existing case law, a timely notice must be filed “with the appropriate governmental

entity” to satisfy ITCA’s notice and presentment provisions. See Avila v. Wahlquist, 890 P.2d

331, 334 (Idaho 1995); see also Minnis v. City of Lewiston, No. 3:12-cv-00348-EJL-CWD, 2014

WL 793561, *6 (D. Idaho January 28, 2014) (“Only if a claim is presented to the city . . . and

then denied, may the claimant sue the city for money damages.”).                 The “appropriate

governmental entity” for Plaintiff’s claims against the City of Orofino and Officer Russell is the

City of Orofino. However, Plaintiff’s notice of claim is not addressed to the City of Orofino, and

is instead addressed to the Clearwater County Commissioners and to the Clearwater County

Sheriff’s Department. (Declaration of Counsel, Ex. B). There is no evidence that Plaintiff ever

presented or filed this notice or any other notice of claim with the City of Orofino, as required by

I.C. § 6-906. State law claims against the City and against Officer Russell must be dismissed for

that reason. Cobbley, 138 Idaho at 157, 59 P.3d at 962.

       As for Plaintiff’s claims against the County and its employees they are barred because

Plaintiff did not present or file notice of those claims with the “the clerk or secretary of the

political subdivision,” as required by I.C. § 6-906. Again, Plaintiff’s notices are addressed to the

Sheriff’s Office, and to the County Commissioner’ office. (Declaration of Counsel, Ex. B).

Plaintiff may have believed that these notices would be forwarded to the appropriate recipient

(i.e. the Clearwater County Clerk), but if so he was mistaken, and his attempt to file or present

this claim in this manner does not satisfy I.C. § 6-906. See Turner v. City of Lapwai, 339 P.3d

544, 547 (Idaho 2014) (ITCA not satisfied where written notice was provided to city officials but

was not “filed by Turner with the city clerk’s office”). This court is bound to give full effect to
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I.C. § 6-906’s terms, as interpreted by controlling Idaho case law. In re County of Los Angeles,

223 F.3d 990, 995 (9th 2000).        Plaintiff’s state law claims against the Clearwater County

defendants are barred by I.C. § 6-906 as well.

2.     Plaintiff’s state law claims against Sheriff Goetz, Deputy Barlow and Officer Russell
       are also barred by I.C. § 6-610.

       I.C. § 6-610(2) requires the filing of a bond as a condition precedent to any action against

a law enforcement officer, and also that the bond “shall [be] prepare[d] and file[d] with, and at

the time of filing the complaint or petition in any such action.” Because a “literal application of

[I.C. § 6-610] . . . requires a court to set the bond’s value before the court gains jurisdiction over

the case,” the Idaho Supreme Court allows plaintiffs to satisfy this requirement by “filing with

the court, located in the county where the law enforcement officer performs his or her official

duties, a petition requesting an order fixing the amount of bond,” and posting a bond in the

amount set. Allied Bail Bonds, Inc. v. Cty. of Kootenai, 258 P.3d 340, 345 (Idaho 2011)

(emphasis added). 5

       Defendants do not dispute that Plaintiff posted a bond; however the bond Plaintiff posted

does not satisfy I.C. § 6-610. The problem is that Plaintiff did not post a bond with the District

Court for the county where Sheriff Goetz, Deputy Barlow and Officer Russell indisputably

perform their official duties, which is Clearwater County. Instead, Plaintiff posted a bond with

the District Court for Bonneville County prior to filing this lawsuit. See Baker vs. Clearwater

County, et al., Bonneville County Case No. CV10-20-4399. No case allows a party to satisfy the


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    Courts in this district have sometimes allowed plaintiffs to satisfy I.C. § 6-610 “by
simultaneously mov[ing] for a bond to be waived or set by the court when the complaint is
filed.” Hill v. County of Benewah, No: 2:18-cv-00320-DCN, 2020 WL 1049905, *5 (D. Idaho
March 4, 2020) (citation omitted). Plaintiff has never requested a waiver or asked this court to
set a bond for these purposes.
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requirements of I.C. § 6-610 by requesting and posting a bond in whichever county they deem

most convenient. To the contrary, dismissal is required by existing and controlling state court

case law where the requirements of I.C. § 6-610 are not met. Allied Bail Bonds, Inc., 258 P.3d at

345; see also Sparkes v. Idaho Fish and Game, Docket No. 45133, 2018 WL 1529301, *3-4

(Idaho Ct. App. 2018) (unpublished); Monson v. Boyd, 348 P.2d 93, 94 (1959). Plaintiff’s state

law claims against the individually named defendants are thus barred by I.C. § 6-610.

3.     The state law claims are also barred by I.C. § 6-904(3).

       Plaintiff alleges that Defendants’ conduct rises to the level of malice or criminal intent.

However, regardless of whether malice or criminal intent can be demonstrated here—they cannot

be for reasons discussed below—I.C. § 6-904(3) bars Plaintiff from bringing state law claims for

“assault, battery, false imprisonment, false arrest, malicious prosecution, abuse of process”

against the County or the City See Hoffer v. City of Boise, 257 P.3d 1226, 1228 (Idaho 2011)

(“The plain language of . . . that section exempts governmental entities from liability for the torts

it lists, whether or not there has been an allegation of malice or criminal intent.”).

       Plaintiff is not barred from bringing negligent hiring, training or supervision claims

against the County (or Sheriff Goetz) or the City, but those claims fail for other reasons. Under

controlling Idaho case law, such claims are viable only where there is evidence demonstrating

why those defendants “should have reasonably anticipated that those subject to their supervision

would commit [a compensable tort.]” Kessler v. Barowsky, 931 P.2d 641, 648 (Idaho 1997).

There is no evidence here that would cause a reasonable person to suspect or anticipate that

either Barlow or Russell were likely to violate the constitutional rights of suspects. Neither has

any history of complaints against them for incidents similar to this one, or of any disciplinary or

corrective actions taken against them by their employers. (Declaration of Counsel, Ex. D at
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16:15-16:17). If either violated Plaintiff’s rights—neither did—there was no way that their

employers could (let alone should) reasonably have foreseen or anticipated this outcome. No

rational trier of fact would find the County or the City liable on this basis.

       Also, and for reasons set forth previously, there is no evidence demonstrating that any of

the individually named defendants violated Plaintiff’s rights, much less that they did so

maliciously, recklessly or otherwise. Plaintiff may believe that Barlow was trying to in some

way punish him to help out Nelson, but that belief is not in any way borne out by this record. No

reasonable jury would find malice or criminal intent here, and Plaintiff’s state law claims against

the individually named defendants are barred by I.C. § 6-904(3) for that reason as well. 6

                                        III. CONCLUSION

       Defendants’ motion for summary judgment should be granted.

       DATED this 31st day of August 2021.

                                               CLEMENTS, BROWN & McNICHOLS, P.A.


                                               By      /s/ Bentley G. Stromberg              .
                                                    BENTLEY G. STROMBERG
                                                    Attorneys for Defendants




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   Any claims for alleged violations of the Idaho Constitution are meritless whether barred by
ITCA or not. Hamell v. Idaho County, No. 3:16-CV-00469-EJL, 2017 WL 2870080, *5 (D.
Idaho July 5, 2017) (“This question has been clearly decided in this District. [] There is no direct
cause of action for violations of the Idaho Constitution.”) (quotation marks omitted).
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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 31st day of August 2021, I filed the foregoing
electronically through the CM/ECF system:

            T. Jason Wood
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                                   /s/ Bentley G. Stromberg        .
                                       Bentley G. Stromberg




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